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     Federal Defender
 2   JEROME PRICE, SBN # 282400
     Assistant Federal Defender
 3   Designated Counsel for Service
     801 I Street, 3rd Floor
 4   Sacramento, CA 95814
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 5   Fax: (916) 498-5710

 6   Attorneys for Defendant
     DEAN O. YOUNG JR.
 7
 8                              IN THE UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

10
11    UNITED STATES OF AMERICA,                      )   Case No. 2:18-cr-00142-JAM
                                                     )
12                      Plaintiff,                   )   STIPULATION AND ORDER
                                                     )   TO CONTINUE STATUS CONFERENCE
13    vs.                                            )
                                                     )   Date: January 7, 2020
14    DEAN O. YOUNG, JR. et al,                      )   Time: 9:15 a.m.
                                                     )   Judge: Hon. John A. Mendez
15                      Defendant.                   )
                                                     )
16                                                   )

17           IT IS HEREBY STIPULATED by and between McGregor W. Scott, United States
18   Attorney, through Timothy H. Delgado, Attorney for Plaintiff and Heather Williams, Federal
19   Defender, through Assistant Federal Defender Jerome Price, Attorney for Defendant Dean O.
20   Young, Jr., that, as to Defendant Dean Young only, the Status Conference scheduled for
21   January 7, 2020 may be vacated and continued to March 3, 2020 at 9:15 a.m.
22           The continuance is requested to provide defense counsel additional time to review
23   forthcoming forensic evidence and consult with Mr. Young regarding the contents of his cellular
24   phone. Defense counsel also requires additional time to engage in plea negotiations, continue the
25   fact investigation, discovery review, and legal research necessary to determine an appropriate
26   resolution in this matter.
27           Based upon the foregoing, the parties agree time under the Speedy Trial Act should be
28   excluded from this order’s date through and including March 3, 2020, pursuant to 18 U.S.C.

      Stipulation and [Proposed] Order to Continue        -1-          U.S. v Young, et al., 2:18-CR-00142-JAM
      Status Conference
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 1   §3161 (h)(7)(A)and (B)(iv)[reasonable time to prepare] and General Order 479, Local Code T4

 2   based upon continuity of counsel and defense preparation.

 3
 4                                                   Respectfully submitted,

 5   Date: January 3, 2020                           McGREGOR W. SCOTT
                                                     United States Attorney
 6
                                                     /s/Timothy H. Delgado
 7
                                                     TIMOTHY H. DELGADO
 8                                                   Assistant U.S. Attorney
                                                     Attorney for Plaintiff
 9
10                                                   HEATHER E. WILLIAMS
                                                     Federal Defender
11
     Date: January 3, 2020                           /s/ Jerome Price              _
12                                                   JEROME PRICE
                                                     Assistant Federal Defender
13                                                   Attorney for Defendant
                                                     DEAN O. YOUNG JR.
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      Stipulation and [Proposed] Order to Continue     -2-           U.S. v Young, et al., 2:18-CR-00142-JAM
      Status Conference
       Case 2:18-cr-00142-JAM Document 59 Filed 01/06/20 Page 3 of 3


 1                                                   ORDER

 2           IT IS HEREBY ORDERED, the Court, having received and considered the parties’

 3   stipulation, and good cause appearing therefrom, adopts the parties’ stipulation in its entirety as
 4   its order. The Court specifically finds the failure to grant a continuance in this case would deny
 5   counsel reasonable time necessary for effective preparation, taking into account the exercise of
 6   due diligence. The Court finds the ends of justice are served by granting the requested
 7   continuance and outweigh the best interests of the public and defendant in a speedy trial.
 8           The Court orders the time from the date the parties stipulated, up to and including March
 9   3, 2020, shall be excluded from computation of time within which the trial of this case must be
10   commenced under the Speedy Trial Act, pursuant to 18 U.S.C. § 3161(h)(7)(A) and(B)(iv)
11   [reasonable time for counsel to prepare] and General Order 479, (Local Code T4). As to
12   Defendant Dean Young, it is further ordered the January 7, 2020 Status Conference shall
13   be continued until March 3, 2020, at 9:15 a.m.
14
15   IT IS SO ORDERED.
16
17   Dated: January 3, 2020                          /s/ John A. Mendez______________
                                                     HON. JOHN A. MENDEZ
18                                                   United States District Court Judge

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      Stipulation and [Proposed] Order to Continue     -3-           U.S. v Young, et al., 2:18-CR-00142-JAM
      Status Conference
